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       Exhibit 62
   (Filed Under Seal)
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In re EpiPen                             ***HIGHLY CONFIDENTIAL***                       Scott Sussman
Marketing                                                                           September 13, 2018
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 1                                                          1
 2                                                          2
 3                                                          3
 4                                                          4
 5                                   .                      5
 6   Q.                                                     6
 7                                                          7
 8                                                          8
 9   A.                                                     9
10                                                         10
11                                                         11
12                                                         12   A.
13      MS. BARRINGTON: Okay. The next                     13   Q.
14    document.                                            14
15      (Sussman Exhibit Number 16                         15
16      marked for identification.)                        16
17      BY MS. BARRINGTON:                                 17
18   Q. This is Sussman 16.                                18
19   A. Okay.                                              19
20   Q. Do you recognize this document?                    20
21   A. I don't.                                           21
22   Q. We will start at the bottom e-mail.                22   A.

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 1   A. You okay.                                           1   Q.
 2   Q.                                                     2
 3                                                          3
 4                                                          4   A.
 5 A.                                                       5
 6 Q.                                                       6   Q.
 7                                                          7
 8                                                          8   A.
 9                                                          9   Q.
10                                                         10
11                                                         11   A.
12                                                         12
13                                                         13   Q.
14                                                         14
15                                                         15
16                                                         16   A.
17                                                         17
18                                                         18
19                                                         19   Q.
20                                                         20
21                                                         21
22                                                         22   A.

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